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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
____________________________________________________________________________

UNITED STATES OF AMERICA,                             )
                                                      )
               Plaintiff,                             )
                                                      )
                                                      )       Criminal No. 2:23-cr-20191
                                                      )
                                                      )
JUSTIN SMITH, et al.,                                 )
                                                      )
               Defendants.                            )

______________________________________________________________________________

                   UNOPPOSED MOTION FOR PROTECTIVE ORDER
______________________________________________________________________________

       The United States (the “Government”) intends to produce certain records and information

(hereinafter the “Material”) from potential law enforcement witness’s personnel files related to

allegations and findings of misconduct. The United States requests that this Court enter a protective

order to protect the Government, the Defendants, and their counsel and agents from claims of

improper disclosure of confidential and sensitive information contained therein. Because the

Material was contained within the law enforcement officers personnel files, the release of this

Material without any restriction would unfairly place the reputation and privacy of the law

enforcement officers at risk. The government has consulted with opposing counsel and the Motion

is unopposed. The government therefore requests that this Court allow defense access to this

Material subject to the following protective measures:

   (a) defendants and defense counsel be prohibited from disclosing the Material to anyone other

than authorized persons defined as defendants, defense counsel, their respective employees and

any person retained by counsel to assist in the preparation, trial, or appeal of this criminal action
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(or any collateral civil matter arising directly from this criminal action), including their consultants,

agents, experts, and investigators. With respect to such persons, the Material shall be disclosed to

the person only to the extent necessary to perform the work for which the person was retained; and

the person shall not retain the Material after his or her work related to this criminal action has

concluded;

    (b) should defendant or defense counsel need to file any motion, pleading, or other notice

referencing the Material defendant and defense counsel shall be required to file any such document

under seal;and

    (c) upon termination of this action and any appeal, or at the conclusion of counsel’s

representation of the defendant, whichever occurs first, counsel for the defendant shall return the

Material to the government or shall certify that said materials have been destroyed.


                                                        Respectfully submitted,

                                                        KEVIN G. RITZ
                                                        United States Attorney
                                                        Western District of Tennessee


                                                By:    s/David Pritchard
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                                CERTIFICATE OF SERVICE


       I, David Pritchard, hereby certify that the on the date below, I electronically filed the

foregoing with the Clerk of Court for the Western District of Tennessee via the Electronic File

System which sent notification of said filing to defense counsel.


                                                             s/David Pritchard
                                                            DAVID PRITCHARD
                                                            September 3, 2024
